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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )   20 CR 111-9
        v.                                    )
                                              )   Honorable Virginia M. Kendall
VASILIOS PRASSAS                              )

                GOVERNMENT’S SENTENCING MEMORANDUM

        The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, respectfully submits its

position paper as to the factors in sentencing. For the reasons set forth below, the

government respectfully requests that the Court impose a sentence at the low end of

the advisory guidelines range. Such a sentence will be sufficient but not greater than

necessary to satisfy the principles set forth in the Sentencing Guidelines and in 18

U.S.C. § 3553(a).

I.      Background

        Defendant was a long-term but small agent for Vincent Delgiudice’s

bookmaking operation with between six to eight regular gamblers at various times.

Defendant became an agent as a means to pay off the money that he owed Vincent

Delgiudice; defendant appears to have been addicted to gambling and was often

deeply in debt to Delgiudice. Delgiudice often forgave significant portions of the debt

that Prassas owed, permitting Prassas to continue to gamble and to work as his

agent. As an agent, defendant recruited bettors, collected, and paid out gambling


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debts and winnings, served as their bookie, and routinely corresponded and met with

Delgiudice to settle up.     Most notably, on or about December 21, 2018, Prassas

accepted an envelope from Delgiudice agent Casey Urlacher which contained

gambling proceeds and delivered it to Delgiudice.

II.      Presentence Investigation Report

         The government has no objections or corrections to the Presentence

Investigation Report, and agrees with the offense level, criminal history, and advisory

Guidelines calculations contained within. The government agrees that the offense

level after accounting for acceptance of responsibility is 12 (PSR ¶¶ 24-31), and that

the defendant falls into criminal history category I (PSR ¶37). Accordingly, the

advisory guidelines range is 6 to 12 months of imprisonment. (PSR ¶ 77).

III.     The Factors Set Forth in 18 U.S.C. § 3553(a) Warrant a Sentence within
         the Advisory Guidelines Range

         A.    The Nature and Circumstances of the Offense

         Defendant’s crime is serious. Over a period of years, defendant actively

participated in, facilitated, and profited from this massive online gambling operation.

That operation utilized agents and subagents to coordinate the wagers of

approximately 1000 bettors, and generated millions of dollars in proceeds on an

annual basis, including profits to the defendant. The FBI expert described this

gambling operation as one of the largest he has encountered in the years that he has

worked for the FBI, and estimated that it generated somewhere between 80 million

and 160 million dollars in annual wagers.        In order to evade detection by law

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enforcement, the gambling operation used overseas coconspirators, encrypted

communications tools, and engaged in significant money laundering and tax evasion.

      This was not a victimless crime. Defendant, along with his co-defendants,

preyed upon vulnerable individuals, many of whom were hopelessly addicted to

gambling.   During the investigation in this case, the government has met with

numerous victims whose careers, marriages, family life, and lives were jeopardized

and harmed by their affiliation with this gambling enterprise.

      B.     The History and Characteristics of the Defendant

      Defendant history and characteristics are both aggravating and mitigating. In

mitigation, defendant appears to be addicted to gambling and was constantly in debt

to Delgiudice. Delgiudice often forgave portions of Prassas’ debt so Prassas could

continue to gamble, which Prassas viewed as an act of friendship but which actually

appears to be a way that Delgiudice exploited Prassas’ addiction.

      In aggravation, defendant knew and understood that many of the people who

were gambling with him were severely addicted to gambling and could not stop.

Defendant himself faces challenges with addiction to gambling yet nevertheless

exploited the addiction of his gamblers to line his pockets and fund his gambling.

Prassas was an integral, long-term, and reliable part of this large criminal

organization which operated outside the law for years.




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      C.      The Seriousness of the Offense, and the Need to Promote
              Respect for the Law, Provide Just Punishment, Afford Adequate
              Deterrence, and Protect the Public

      Defendant’s conduct is serious and should be sanctioned by a term of

imprisonment. His conduct did not represent a one-time lapse in judgment, but

involved a conscious decision to violate the law hundreds or thousands of times over

the many years that he gambled with Delgiudice.

      D.      The Government’s Sentencing Recommendation

      The government believes that a sentence at the low end of the 6 to 12 months

advisory range is sufficient but not greater than necessary to properly account for the

aggravating and mitigating factors and to satisfy the principles of sentencing.

IV.   Conditions of Supervised Release

      The government agrees with the conditions of supervised release proposed by

the Probation Department. In light of the history and characteristics of Defendant,

his offense conduct, and the purposes of sentencing as reflected in 18 U.S.C. §§ 3553

and 3583, the government respectfully requests that Defendant be required to comply

with the conditions of supervised release as proposed by the Probation Department.

                                 Supervised Release

          Consistent with the Seventh Circuit’s guidance in United States v.

 Thompson, 777       F.3d     368     (7th       Cir.   2015),    the    government

 agrees      with    Probation’s recommendation for the imposition of a term of

 supervised release of three years.          In order to promote the sentencing


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objectives of deterring recidivism, protecting the public, and assisting in

defendant’s rehabilitation and reintegration into society, the government supports

Probation’s recommendation that the term of supervised release include the

conditions set forth below.

             a. Mandatory Conditions of Supervised Release

      The government agrees that the             mandatory conditions of supervised

release proposed by the Probation Department should be imposed because they

are required by 18 U.S.C. § 3583(a) and recommended by Guideline § 5D1.3(a) and

will assist the defendant to transition to a law-abiding citizen.

             b. Discretionary Conditions of Supervised Release

      The       government     agrees     that      the   discretionary   conditions

of supervised release proposed by the Probation Department should be imposed, as

such discretionary conditions will serve to facilitate supervision by the Probation

officer, support defendant’s rehabilitation and reintegration into society, and

serve to promote deterrence and protect the public, and are thus appropriate in

this case.


      c. Special Conditions of Supervised Release

      The government agrees with the special conditions of supervised release

proposed by the Probation Department in the PSR, which further support

defendant’s reintegration into society.




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                                    Conclusion

      For the foregoing reasons, the United States respectfully requests that the

Court sentence defendant Vasilios Prassas to a sentence at the low end of the

guideline range.

                                      Respectfully submitted,

                                      JOHN R. LAUSCH, JR.
                                      United States Attorney

                              By:     /s/ Terry M. Kinney
                                      TERRY M. KINNEY
                                      Assistant United States Attorney
                                      312-353-1931

April 26, 2022




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